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     Federal Public Defender
 2   HEIDI A. OJEDA
     Assistant Federal Public Defender
 3   Nevada State Bar No. 12223
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 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
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     Heidi_Ojeda@fd.org
 6
 7   Attorney for William C. Thompson

 8                               UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                              Case No. 2:13-cr-368-JAD-NJK

11                  Plaintiff,
                                                              MOTION TO CONTINUE MOTION
12          v.
                                                                      DEADLINES
13   WILLIAM C. THOMPSON

14                  Defendant.

15
16          COMES NOW defendant, William C. Thompson, by and through his attorney, Heidi A.
17   Ojeda, Assistant Federal Public Defender, and hereby submits this Motion to Continue Motion
18   Deadlines. It is requested that the defendant shall have to and including December 9, 2016 to file
19   any and all pretrial motions and notices of defense, that the Government shall have to and including
20   December 23, 2016 to file any and all responsive pleadings and that the defendant shall have to
21   and including December 30, 2016 to file any and all replies to dispositive motions.
22          The undersigned counsel posits that good cause exists to continue the motion deadlines
23   based upon the following:
24          1.      The client is in custody and does not oppose the continuance.

25          2.      Undersigned counsel for Mr. Thompson was just recently assigned to this case at

26   the end of September. CR# 87 Notice of Appearance. Prior counsel, Ms. Weksler, is no longer

27   involved in this case. Further, co-defendant, David Yoder, just recently made his appearance in
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 1   this case on September 1, 2016. CR# 75, Minutes of Proceedings. The other co-defendant has yet
 2   to make his initial appearance in this case and is currently serving an out of state sentence in
 3   California.
 4              3.    Mr. Thompson is facing a severe sentence (Count 1 alone carries a mandatory
 5   minimum sentence of 20 years). Trial in this matter is currently set for April 11, 2017. CR# 77. A
 6   brief, 30-day extension of the pre-trial motion deadlines will not affect the currently scheduled
 7   trial date. Counsel for David Yoder has no objection to the extension of the pre-trial motion
 8   deadlines. The Government, however, has indicated that they oppose any additional extension. For
 9   all these reasons, Mr. Thompson requests the Court extend the pre-trial motion deadlines in this
10   case for an additional 30 days.
11              4.    Denial of this request for continuance would deny counsel for the defense sufficient
12   time to effectively and thoroughly prepare and submit appropriate pretrial motions and notices of
13   defense, taking into account the exercise of due diligence.
14              5.    Additionally, denial of this request for continuance could result in a miscarriage of
15   justice.
16              DATED this 9th day of November, 2016.
17                                                       Respectfully submitted,
                                                         RENE L. VALLADARES
18                                                       Federal Public Defender
19
                                                         By /s/ Heidi A. Ojeda _______
20
                                                         HEIDI A. OJEDA
21                                                       Assistant Federal Public Defender
                                                         Counsel for William C. Thompson
22
23     IT IS SO ORDERED.
24     DATED this 14th day of November, 2016.

25
26                                        ________________________________________
                                          JENNIFER A. DORSEY, U.S. DISTRICT JUDGE
27

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 1                            CERTIFICATE OF ELECTRONIC SERVICE

 2             The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to serve
 4   papers.
 5             That on November 9, 2016, she served an electronic copy of the above and foregoing
 6   MOTION TO CONTINUE MOTION DEADLINES by electronic service (ECF) to the person
 7   named below:
 8
 9                    DANIEL BOGDEN
                      United States Attorney
10                    LISA CARTIER-GIROUX
11                    501 S. Las Vegas Blvd. Ste. 1100
                      Las Vegas, NV 89101
12
13
14                                                 /s/ Lauren Pullen
                                                   Employee of the Federal Public Defender
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